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                                          U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      June 16, 2021

BY ECF

The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Michael Avenatti,
               S1 19 Cr. 373 (PGG)

Dear Judge Gardephe:

        The Government respectfully submits this letter to correct an error contained in its June 11,
2021 letter opposition (Dkt. No. 318). Footnote 5 on page 8 of that letter incorrectly refers to a
transcript of a proceeding as occurring on June 6, 2018. The correct date of the proceeding cited
is June 18, 2019.

                                                      Respectfully submitted,

                                                      AUDREY STRAUSS
                                                      United States Attorney

                                              By:      s/ Matthew D. Podolsky
                                                      Matthew D. Podolsky
                                                      Daniel C. Richenthal
                                                      Robert B. Sobelman
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cc:    (by ECF)

       Counsel of Record
